Case 8:07-cr-00454-JSM-TGW Document 394 Filed 07/28/08 Page 1 of 3 PageID 1000




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


    UNITED STATES OF AMERICA,                 :
                                              :
           Plaintiff,                         :
                                              :
    v.                                        :    Case No. 8:07-cr-454-T-30TGW
                                              :
    ARCHIE HOLMES,                            :
         a/k/a “Nerk,”                        :
                                              :
           Defendant.                         :
                                              :


                         PRELIMINARY ORDER OF FORFEITURE

           THIS CAUSE comes before the Court upon the filing of the Motion (Dkt. #390)

    of the United States of America for Entry of a Preliminary Order of Forfeiture which

    shall be a Final Order as to defendant Archie Holmes’ right, title and interest in the

    following firearms and ammunition:

           A.      CN Romarm, 7.62 caliber firearm, serial number AC-1506-80, loaded
                   with a magazine;

           B.      Remington Model 870, 12 gauge shotgun, serial number D49190M,
                   loaded with five rounds;

           C.      H&R .32 caliber revolver, Model 73, serial number AU015501;

           D.      An unidentified make/model, 7.62 caliber rifle, with scope and loaded
                   magazine, serial number 10054345;

           E.      Ruger .22 caliber handgun with magazine, serial number 12-05919;

           F.      Glock Model 26 pistol, 9mm, with magazine, serial number LHF 100;
                   and

           G.      Ruger .22 caliber handgun with magazine, serial number NRA-11376.
Case 8:07-cr-00454-JSM-TGW Document 394 Filed 07/28/08 Page 2 of 3 PageID 1001




           Being fully advised in the premises, the Court finds:

           WHEREAS, the United States has established the requisite nexus between the

    firearms and ammunition identified above and the weapons offense charged in Court

    Four of the First Superseding Indictment, to which the defendant pled guilty, the

    government is now entitled to possession of the subject firearms and ammunition

    pursuant to the provisions of 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), 21 U.S.C.

    § 853[incorporated by 28 U.S.C. § 2461(c)], and Rule 32.2(b)(2), Fed. R. Crim. P.

    Accordingly, it is hereby

           ORDERED, ADJUDGED, and DECREED

           1.      That the Motion (Dkt. #390) of the United States is GRANTED;

           2.      That all right, title, and interest of defendant Archie Holmes in the

    above-listed assets are hereby forfeited to the United States of America for

    disposition according to law, subject to the provisions of 21 U.S.C. § 853;

           3.      That, following entry of this order, the United States will, pursuant to 21

    U.S.C. § 853(n), publish (in such manner as the Attorney General may direct) notice

    thereof and its intent to dispose of the forfeited properties. The United States may

    also, to the extent practicable, provide direct written notice to any person known to

    have an alleged interest in the above-described assets, as substitute for published

    notice as to those persons so notified;

           4.      That any person, other than defendant Archie Holmes, who has or

    claims any right, title, or interest in the above-described assets must file a petition with


                                                 2
Case 8:07-cr-00454-JSM-TGW Document 394 Filed 07/28/08 Page 3 of 3 PageID 1002




    the Court for a hearing to adjudicate the validity of his or her alleged interest in the

    forfeited asset. The petition is to be mailed to the Clerk of the United States District

    Court, Tampa Division, 801 North Florida Avenue, Tampa, Florida 33602, within thirty

    (30) days of the final publication of notice or of receipt of actual notice, whichever is

    earlier;

                5.           That the petition shall be signed by the petitioner under penalty of

    perjury, and shall set forth the nature and extent of the petitioner's right, title, or interest

    in the forfeited asset, and any additional facts surrounding the petitioner's claim and

    relief sought;

                6.           That, after receipt of the petition by the Court, the Court will set a hearing

    to determine the validity of the petitioner's alleged interest in the forfeited asset;

                7.           That, upon adjudication of all third-party interests in the above-described

    assets, this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853, in

    which all interests will be addressed.

                The court retains jurisdiction to enter any orders necessary for the forfeiture and

    disposition of the firearms and ammunition and to entertain any claims or petitions that

    may be asserted in the ancillary proceeding.

                DONE and ORDERED in Tampa, Florida on July 28, 2008.




    Copies furnished to:
    Counsel/Parties of Record
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